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                                     ORDERED.
 Dated: March 27, 2023




                        UNITED STATES BANKRUPTCY COURT
                           MIDDLE DISTRICT OF FLORIDA
                             JACKSONVILLE DIVISION



 IN RE:
                                                    CASE NO.: 3:22-00809
 JOGI PACK & SHIP SERVICES, LLC,                    CHAPTER 11

     Debtor.
 ____________________________________/


                                ORDER DISMISSING CASE

        THIS CASE came before the Court for hearing on March 22, 2023, upon the UPS Store

Inc.’s (“TUPSS”) (I) Objection to Debtor-In-Possession’s Motion for Turnover and (II) Cross-

Motion to Convert Case to Chapter 7 [Docket No. 192] (the “Motion to Convert”). The Court,

having reviewed the record and being otherwise advised in this matter finds that this case should

be dismissed. Accordingly, it is hereby

        ORDERED AND ADJUDGED AS FOLLOWS:

        1.     The Motion to Convert is DENIED.

        2.     The above-captioned chapter 11 case is hereby DISMISSED with prejudice to

refiling.
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       3.      All pending hearings are cancelled.

       4.      The automatic stay imposed by 11 U.S.C. Section 362 is terminated.

       5.      Pursuant to the provisions of 11 U.S.C. Section 105(a) and 11 U.S.C. Section

109(g), the Debtor is prohibited from filing a proceeding, anywhere in the country, under title 11,

for a period of one hundred and eighty (180) days from the date of this order. Any attempt to

invoke the automatic stay provisions of 11 U.S.C. Section 362 is hereby annulled during this

injunction period.

       6.      TUPSS shall pay to Mr. Robert Altman, in his capacity as subchapter V trustee (the

“Subchapter V Trustee”), his remaining unpaid capped fees in the amount of $592.93 within ten

(10) days of entry of this order. The Subchapter V Trustee is discharged from any further duties.

       7.      The Court shall retain jurisdiction to enforce the provisions of this order.



                                              # # #



Attorney Noel Boeke is directed to serve a copy of this order on interested parties who do not
receive service by CM/ECF and file a proof of service within 3 days of entry of this order.
